


  PER CURIAM.
 

  Michael D. Keith appeals an order of the Florida Department of Revenue, Child Support Enforcement Program, which directs Mr. Keith’s employer to deduct certain amounts from his earnings to pay child support. Counsel for appellee has filed a concession of error, admitting that there was an error in the calculation of the child support guidelines and therefore the
   
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  final order of administrative support is not supported by competent substantial evidence.
 

  In light of this concession, we quash the order on appeal and remand to the agency for further proceedings, if warranted, and entry of an amended order.
 

  REVERSED.
 

  BENTON, VAN NORTWICK, and CLARK, JJ., concur.
 
